                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


KATHERINE M. REHM,

                   Plaintiff,
                                                           Case No. 1:21-cv -00237-PP
       vs.

YOUNG MEN’S CHRISTIAN
ASSOCIATION OF GREATER
WAUKESHA COUNTY, INC.,

                   Defendant.


      DEFENDANT YOUNG MEN’S CHRISTIAN ASSOCIATION OF GREATER
       WAUKESHA COUNTY, INC.’S MOTION FOR SUMMARY JUDGMENT


       Defendant Young Men’s Christian Association of Greater Waukesha County, Inc. (the

“YMCA-GWC” or “Defendant”) hereby moves this Court for summary judgment pursuant to

Federal Rule of Civil Procedure 56, Civil Local Rule 7, and Civil Local Rule 56(b) against Plaintiff

Katherine M. Rehm (“Rehm” or “Plaintiff”), to dismiss all Plaintiff’s claims with prejudice. The

bases for this Motion are contained in the papers and pleadings already on file with the Court, as

well as the Brief, Statement of Facts, Declarations, and Exhibits accompanying this Motion.

       Dated this 18th day of February, 2022.




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